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                IN THE UNITED STATES DISTRICT COURT FOR THE
                       NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

 MONIQUE L. MATHERSON,
                                               Civil Action No.:
              Plaintiff,

        vs.

 THERMO FISHER SCIENTIFIC, INC.,               COMPLAINT AND DEMAND FOR JURY
                                               TRIAL
              Defendant.

                               COMPLAINT FOR DAMAGES

        COMES    NOW    Plaintiff,     Monique      L.   Matherson (hereinafter

 “Ms.     Matherson”        or     “Plaintiff”),         by    and     through      the

 undersigned counsel, and sets forth her Complaint and Jury

 Demand       against    the     above-named        Defendant,       Thermo    Fisher

 Scientific,        Inc.,        (hereinafter       “Defendant”          or   “Thermo

 Fisher”), seeking damages and injunctive relief and shows this

 Court as follows:

                                     INTRODUCTION

                                          1.

        Plaintiff       brings     this   action       under     Title    I   of    the

 Americans       with   Disabilities      Act     of     1990,    as     amended,    42

 U.S.C.§ 12101 et seq. (ADA) to recover (1) lost pay, vacation,

 retirement benefits and healthcare benefits, (2) compensatory

 damages for physical and emotional distress, (3) interest on
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 her damages, calculated at the prevailing rate (4) punitive

 damages,     and   (5)     her     costs     of     litigation,      including      her

 reasonable attorneys’ fees for Defendant’s violations of the

 ADA.

                                          PARTIES

                                            2.

        Plaintiff     is    a   resident      and     citizen   of    the    State    of

 Georgia.

                                            3.

        Plaintiff submits to the jurisdiction and venue of this

 Court.

                                            4.

        Defendant     is    a     foreign     profit     corporation,        organized

 under the laws of the state of Delaware, registered to conduct

 business     in    the     state    of      Georgia,     and    subject      to     the

 jurisdiction of this Court, with offices at 168 Third Avenue,

 Waltham, MA, 02451.

                                            5.

        Service     may    be     made     upon     Defendant    by    serving       its

 registered    agent       Capitol       Corporate     Services,      Inc.    at   3675

 Crestwood    Pkwy,       NW,   Suite     350,      Duluth,   Georgia,      30096,    if

 service is not waived.




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                                         6.

         Defendant is subject to the jurisdiction and venue of

 this Court.

                              JURISDICTION     AND   VENUE

                                         7.

         Plaintiff is subject to the jurisdiction and venue of

 this Court.

                                         8.

         This Court has jurisdiction over this case and Defendant.

                                         9.

         This   Court   has   subject     matter           jurisdiction   over   this

 case.

                                         10.

         The jurisdiction of this court is invoked pursuant to 42

 U.S.C. § 12117(a) and 42 U.S.C §2000e-5(f)(3) (ADA), 28 U.S.C. §

 1331    (federal   question),     28    U.S.C.        §     1332(a)   (diversity   of

 citizenship), 28 U.S.C. §1343 (civil rights), and 28 U.S.C. §§

 2201 and 2202 (declaratory judgment).

                                         11.

         Venue in this case is proper pursuant to 28 U.S.C. §1391(b)

 because the Defendant conducts business in this district and

 division and the unlawful employment practices described herein




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 were committed within the State of Georgia, in the Northern

 District of Georgia.

                              ADMINISTRATIVE    PROCEEDINGS

                                       12.

       All conditions precedent to this lawsuit within the meaning

 of   Fed.   R.   Civ.   P.    9(c)    have      been   performed     or   otherwise

 occurred or have been prevented by the action or inaction of

 Defendant.

                                          13.

       Plaintiff    properly        and    timely       filed   her    charges   of

 disability discrimination and retaliation with the U.S. Equal

 Employment Opportunity Commission (“EEOC”), within 180 days of

 Defendant’s discriminatory and retaliatory acts.

                                          14.

       On March 9, 2021, Plaintiff received a Notice of Right to

 Sue from the EEOC, dated February 22, 2021.

                                          15.

       This Complaint is filed within 90 days after Plaintiff’s

 receipt of the Right to Sue letter. This action is timely

 filed, and Plaintiff has satisfied all conditions precedent to

 the filing of this action within the meaning of Fed. R. Civ.

 P. 9(c).




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                                  FACTUAL STATEMENT

                                          16.

         This is a straightforward case where Defendant did not

 want to accommodate a new hire, even though it was required to

 do so under the ADA.

                                          17.

         Ms.   Matherson    was    hired        by   Defendant   as   a   Customer

 Service Representative I (“CSR”) in October 2018.

                 Ms. Matherson’s Accommodation Requests

                                          18.

         When Ms. Matherson applied for the position at Thermo

 Fisher in August 2018, she affirmed that she had a disability.

                                          19.

         Once she was offered a position by Thermo Fisher, she

 again    affirmed   that    she    was    disabled      and   went   into   detail

 about the accommodations needed on the new hire paperwork. It

 was her assumption that someone in HR would review the new

 hire paperwork and would then advise management accordingly.

                                          20.

         When Ms. Matherson first started at Thermo Fisher and

 went to meet with Donna Cannon to discuss her disability and

 necessary accommodations, Ms. Cannon acted as if she had no

 idea that Ms. Matherson was disabled.

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                                            21.

         It    is      Plaintiff’s      belief     that     Ms.     Cannon       decided

 immediately that she was not going to accommodate a new hire

 and that is why Ms. Matherson was met with roadblock after

 roadblock throughout her employment.

                                            22.

         Ms.   Matherson       was   and   still    is    qualified       for   the   CSR

 position she held at Thermo Fisher. She has over 25 years of

 customer        service    experience.       In    fact,     every   position        Ms.

 Matherson has ever held involved over-the-phone and in-person

 customer service. Ms. Matherson has always excelled in the

 workplace, often being promoted within months of being hired.

                                            23.

         Ms. Matherson’s 2018 Year-end Review was outstanding and

 resulted in a $0.50 per hour raise. Attached as Exhibit “1” to

 this Complaint is Ms. Matherson’s 2018 Year-end Review. Also

 attached as Exhibit “2” to this Complaint are several customer

 reviews from her time at Thermo Fisher.

                                            24.

         These      reviews     demonstrate         her     outstanding         customer

 service skills. In fact, Ms. Matherson was on the “Perfect 10

 Team”        during     the    month       of     February       2019.     From      her

 recollection, there were only 10 agents on that list out of

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 nearly     100.    The     other     agents           were        invited      to    a     small

 celebration       and    provided       lunch.              However,     Ms.     Matherson’s

 Manager Wilma Giles did not acknowledge that Ms. Matherson was

 on the list and failed to give her time off the phone to

 partake in the celebration.

                                             25.

       Attached      as     Exhibit     “3”         to       this    Complaint        are     the

 training      assessments       from        week        2    through      week      6.     These

 assessments all indicate what a “strong and capable” agent Ms.

 Matherson was.

                                             26.

       Other    than      the    week        6    assessment            showing      that     Ms.

 Matherson was out of adherence, there was never any mention of

 attendance        issues       because          she         had    perfect          attendance

 throughout     training.        It     is       also        important       to      note    that

 everyone in the class was on the overage report for week 6 and

 everyone received the same feedback.

                                             27.

       The expectation Thermo Fisher set prior to being hired

 was perfect attendance during training. As stated above, Ms.

 Matherson had perfect attendance during training.




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                                              28.

         However,    others       in    the    class     had   multiple    attendance

 infractions beginning on week 1 and continuing through week

 12.

                                              29.

         When Ms. Matherson was fired in April 2019, some of these

 individuals were still employed there.

                                              30.

         There was no Week 1 assessment completed. Weeks 8-12 were

 on the job training weeks.

                                              31.

         Ms.   Matherson   was         supposed     to   be    receiving   additional

 training and support from her manager Ms. Giles and her Team

 Lead,    but   no   training,         coaching,       or   feedback   was   provided

 during that time.

                                              32.

         Ms. Matherson first asked for a reasonable accommodation

 in late October 2018.        1


                                              33.

         Ms. Cannon told her that she could always take three ten-

 minute breaks, per day if needed.

 1 See emails attached as Exhibit “4” to this Complaint, showing
 Ms. Matherson met with Ms. Cannon in late October 2018 to
 discuss her situation and the need for accommodations.

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                                          34.

        Ms. Matherson then explained that as a Type 1 Diabetic

 with    complications,       she     would           rather       have       a     formal

 accommodation in place.

                                          35.

        Ms.   Cannon   then   referred          her    to   the    site     HR     Manager

 Melanie Seles.

                                          36.

        Per the emails attached as Exhibit “4” to this Complaint,

 Ms. Matherson contacted Ms. Seles on November 5, 2018.

                                          37.

        When she did not hear back from Ms. Seles by November 15,

 2018, Ms. Matherson sent another email.

                                          38.

        Ms.   Seles’   response     was    that       she   would      meet       with   Ms.

 Matherson,      but    Ms.    Matherson              needed      to      contact        the

 HR1/Accommodations team about her request.

                                          39.

        Ms.   Matherson   immediately           responded         back,    asking        for

 their contact information, but Ms. Seles waited another 5 days

 before providing that information to Ms. Matherson.




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                                       40.

        At this point, it had been 4 weeks since Ms. Matherson

  had started reaching out to management/HR about her need for

  an accommodation.

                                       41.

        When she finally received the contact information for the

  appropriate team, it was Tuesday, November 20, 2018—just 2

  days before the Thanksgiving holiday. However, Ms. Matherson

  reached out to the team immediately and received an out of

  office   notification    stating     that   they   would   return   Monday,

  November 26, 2018.

                                       42.

        When   Ms.   Matherson   had   not    received   any   follow-up   by

  November 28, 2018, she reached out to the unit Manager Mr.

  Dave Kokoski via telephone.

                                       43.

        She got a call back from Mr. Kokoski on November 30,

  2018. During their call, he committed to having the required

  paperwork emailed to her by Monday, December 3, 2018.

                                       44.

        Ms. Matherson contacted her Endocrinologist the same day

  that she received the packet and asked if she could email them

  the paperwork to speed up the process. However, she was told

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  that due to HIPPA regulations, she would have to come to the

  office to sign a release.

                                         45.

        Since the Endocrinologist’s office was only open during

  Ms.   Matherson’s   scheduled     shift,     she   had   to   request    a   few

  hours off to go to the doctor’s office.

                                         46.

        Plaintiff was doing anything she could to speed up the

  process.

                                         47.

        Unfortunately, management failed to grant the time off

  until Monday, December 12, 2018—nearly 6 full weeks after her

  initial request to Ms. Cannon.

                                         48.

        Ms. Matherson’s provider returned the completed paperwork

  on December 28, 2018 to Thermo Fisher.

                                         49.

        However,    per   the    email    attached    as   Exhibit    “4”,     Ms.

  Matherson did not receive verification that it was received

  until January 2, 2019.

                                         50.

        In   late     December     2018,       Ms.   Matherson       had   begun

  experiencing severe nausea and other gastrointestinal problems

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  a few times a week. When this occurred, it caused her blood

  sugar to go extremely high, which negatively affected her both

  physically and mentally.

                                           51.

        She   shared   the     issues      she    was    experiencing      with    Ms.

  Cannon   and   Ms.   Giles       and   explained      that   she   was   going    to

  schedule an appointment with her Endocrinologist.

                                           52.

        Again, Ms. Matherson was met with little to no concern

  for her health and wellbeing. She was instructed to “do what

  she needed to do” but that she would need to request the time

  off through the normal process.

                                           53.

        Ms. Matherson could have gotten an appointment with her

  provider the following day; however, since she was forced to

  follow the “normal process,” she could not get time off for

  another 2 weeks to see her doctor.

                                           54.

        Ms.   Matherson      met    with    Ms.    Cannon      and   Ms.   Giles   on

  January 14, 2019 to discuss what the accommodations team had

  approved on her first request.




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                                       55.

        During that meeting Ms. Matherson expressed concern with

  the structure of what had been approved. She told them that

  she was unable to “schedule” blood sugar episodes to coincide

  with scheduled breaks.

                                       56.

        Ms. Matherson was not allowed to take breaks when needed.

  Breaks and lunches are scheduled through Thermo Fisher’s Work

  Force Management program. Taking breaks and lunches outside of

  what is scheduled affects adherence and can be counted as an

  attendance   infraction    if   taken      more    than   an   hour   from   the

  scheduled time.

                                       57.

        During the same meeting, Ms. Matherson told them that she

  was hesitant to sign off on the accommodation at that time

  given these concerns.

                                       58.

        Ms.   Cannon   stated   that   per     the    letter,    Ms.    Matherson

  could always go back and request additional accommodations if

  necessary. She went on to say that Ms. Matherson really needed

  to sign the current accommodation so that they would have it

  noted in her file that she was approved for accommodations.




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                                       59.

        Hesitantly,     Ms.    Matherson       signed    the     accommodations

  letter.

                                       60.

        During    the   January      14,   2019    meeting,      Ms.    Matherson

  advised Thermo Fisher that she was still experiencing episodes

  of nausea and gastrointestinal issues and that they were in

  fact increasing in frequency.

                                       61.

        She further explained that she had finally been able to

  schedule time off and was scheduled to see her provider the

  following day. She advised Ms. Cannon and Ms. Giles that she

  would let them know the outcome of that appointment.

                                       62.

        Ms. Matherson had her Endocrinologist appointment January

  15,   2019.    Unfortunately,      she   was    told   that    what    she   was

  experiencing    sounded     like   gastroparesis,      which    is    a   common

  complication of Diabetes. To officially diagnose the issue,

  though, Ms. Matherson would need to undergo some additional

  testing.

                                       63.

        When Ms. Matherson returned to work January 16, 2019, she

  shared the outcome of the appointment as promised with Ms.

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  Cannon and Ms. Giles. Ms. Matherson was again advised that she

  would need to use the “normal process” to request time off for

  the required tests.

                                            64.

        Ms.    Matherson       never       received      any     communication       from

  Thermo     Fisher’s       Accommodations        team    other    than    to   confirm

  receipt of the first request on January 2, 2019.

                                            65.

        Despite       multiple      emails        and    phone     calls    throughout

  February,        March,    and   April    2019,       Ms.    Matherson    never    even

  received confirmation that the second request was received.

                                            66.

        Ms. Matherson’s first accommodation request explained her

  diagnosis and that she would need extra time to test, treat,

  and recover from high and low blood sugars.

                                            67.

        On    or    around    January      14,    2019,       Defendant    granted    the

  following in relation to Ms. Matherson’s first accommodations

  request: extended her two (2) 15-minute breaks to two (2) 10

  minute-breaks and allow her one (1) hour, two (2) times per

  month for longer episodes.




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                                           68.

         Ms.   Matherson’s        second    accommodation       request    that     was

  submitted       on    February    24,    2019    and    confirmed    received     by

  Defendant on February 27, 2019 included specifics on how often

  her high or low blood sugar episodes may occur and the amount

  of time needed for recovery. It also specified that severe

  flare-ups may occur 1-2 times per month, requiring her to miss

  an     entire        day.2     Plaintiff’s       accommodation      request      was

  essentially to be able to step away from a task to attend to a

  high    or   low       blood    sugar    episode       and   make   up   the     time

  thereafter that same day (or on a different day if Defendant

  so chose).

                                           69.

         Defendant never engaged in any conversations (i.e. the

  interactive          process)    in   regard     to    Ms.   Matherson’s       second

  accommodation request.

                                           70.

         She also made multiple verbal and written requests to the

  local Management/HR teams for the status of her request. Each

  time she was told that her request was in the team’s hands and

  she would be notified when a decision was made.


  2 See the February 22, 2019 Second Accommodation Request Form,
  attached as Exhibit “5.”

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                                          71.

        Ms. Matherson was able to coordinate time off for the

  tests required in early February 2019, all the while she was

  experiencing       these    nausea   and      gastrointestinal         issues    with

  increasing frequency causing her to have to log off the phones

  at Thermo Fisher and recover.

                                          72.

        Depending on how high her blood sugar goes, the recovery

  times vary. Per the second accommodation request, it can take

  1-4 hours for Ms. Matherson to recover.

                                          73.

        On or about February 4, 2019, Ms. Matherson requested

  another meeting with Ms. Cannon and Ms. Giles to discuss her

  “adherence.”

                                          74.

        The   Work    Force    Management         Team    (“WFM”)   had    added   the

  additional    10    unpaid    minutes      to    each    break    on   January   14,

  2019. However, she immediately noticed that her “adherence”

  dropped     from   acceptable    to     unacceptable        and    Ms.   Matherson

  wanted to know why.




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                                        75.

         She was advised that the WFM team could not “figure out”

  how    to   properly    code    the     time   as    to    not     affect      her

  “adherence.”

                                        76.

         Ms. Cannon advised that for the time being that Thermo

  Fisher would not be considering Ms. Matherson’s “adherence” in

  her daily stats and monthly ratings.

                                        77.

         Thermo Fisher claimed that the WFM was working on the

  issue and Ms. Cannon would let Ms. Matherson know when it was

  fixed.

                                        78.

         As of Ms. Matherson’s termination date, this issue had

  not been fixed and was still affecting her rankings.

                                        79.

         It became obvious to Ms. Matherson by February 15, 2019

  that   Thermo     Fisher’s   local    Management     and   HR    teams   had    no

  intention    of    helping   her     with   this    increasingly     stressful

  situation. Not only was she dealing with a very serious health

  situation, but she was also working in an increasingly hostile

  work environment.




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                      Ms. Matherson’s Work Performance

                                     80.

        Being a brand-new CSR, there were customer requests that

  Ms. Matherson and the other CSRs in her class had been unable

  to cover during training due to time constraints.

                                     81.

        The trainer assured them that they would be seated near

  their Team Leads, as well as tenured agents that could help in

  those situations. They were instructed to offer a callback if

  they were unable to resolve the issue and then take the issue

  to their Manager for resolution and customer callback.

                                     82.

        Ms. Matherson’s assigned Team Lead was not helpful and at

  times was extremely hostile towards Ms. Matherson.

                                     83.

        Each   time    Ms.   Matherson   would   ask   her   for   help,   she

  refused saying “you should have learned that in training.”

                                     84.

        Ms. Matherson shared her concerns about her Team Lead’s

  demeanor and refusal to help with Ms. Cannon and Ms. Giles on

  several occasions. The only response Ms. Matherson received

  was that they “were aware of the situation.”




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                                         85.

        Luckily, however, the tenured agents that sat near Ms.

  Matherson were extremely helpful and did their best to help

  while still managing their own assigned tasks.

                                         86.

        Unfortunately,        there     were    occasions      when      they    were

  unavailable.     When    that       happened,        Ms.   Matherson     did     as

  instructed and went to Ms. Giles. However, Ms. Giles failed to

  respond on most occasions and when she did respond, she did

  not know the answer. She would refer Ms. Matherson to another

  Team Lead or manager in the office. This further delayed the

  promised     callback    and        negatively       affected   the      customer

  experience.

                                         87.

        Thermo Fisher policies stated that all new CSRs (from 1

  to 6 months of tenure) must meet with their manager weekly to

  go over their progress, listen to calls, give feedback, and

  review weekly stats. Ms. Giles would throw Ms. Matherson’s

  weekly   stats   on   her    desk    but     never    discuss   them    with   Ms.

  Matherson—there       were    no     meetings,        no   coaching,     and     no

  feedback.3


  3 See the multiple blank coaching sheets from January through
  March 2019, attached as Exhibit “6.”

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                                        88.

         The fact that Ms. Matherson was not getting any support

  from   Ms.    Giles,   along   with    the   increasingly   hostile     work

  environment, caused her a great deal of stress.

                                        89.

         The first time Ms. Giles actually completed a coaching

  sheet and met with Ms. Matherson was March 29, 2019, just

  three (3) weeks prior to her termination.4

                                        90.

         They   did   not   discuss   Ms.     Matherson’s   attendance,    but

  rather, the fact that she was using after call work (“ACW”) a

  lot and needed to stay available.

                                        91.

         ACW is a status the CSRs would put themselves in to keep

  from getting a new call while finishing up anything needing to

  be done for a previous call.

                                        92.

         Ms. Matherson was using ACW to get assistance from other

  CSR’s since she was receiving no support from her manager or

  team lead.




  4
   See the three coaching sheets from March 29 – April 18, 2019,
  attached as Exhibit “7.”

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                                           93.

         Ms.    Matherson    had      been       meeting    all    the     required

  performance goals throughout her training; however, the issues

  with her performance only arose when she was placed on Ms.

  Giles’ team.

                                           94.

         There were times Ms. Matherson had to get out of her seat

  and walk around the floor looking for other team leads and

  managers for help because she could not get help from her

  leadership team.

                                           95.

         During week 2 of training, the class was sent to sit with

  agents from all teams. The agents that were sent to sit with

  members of Ms. Giles’ team all said the agents on Ms. Giles

  team   were    very   vocal      about    the    fact    that   Ms.    Giles   was

  incompetent and that there were concerns with her managerial

  abilities.

                                           96.

         Ms.   Matherson    also    had    several    tenured     agents    mention

  that Ms. Giles was incompetent and “no one” wanted to be on

  her team.




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                                     97.

        Ms. Matherson believes that Defendant’s HR and Management

  placed her on Ms. Giles’ team because they were well aware

  that she would receive no support. They knew the situation

  would impact Ms. Matherson’s ACW and handle time, giving them

  reason to place her on a PIP and eventually fire her.

                                     98.

        Ms.   Matherson   repeatedly   voiced   her   concerns   with   the

  lack of support to Ms. Giles and Ms. Cannon throughout the

  months of February and March 2019 to no avail.

                                     99.

        At that point, Ms. Matherson decided that it might be

  easier to request some time to sit with a tenured agent. Gwen

  Bierce is one of the tenured agents that sat next to Ms.

  Matherson, so she decided to be proactive and asked Ms. Bierce

  if she was willing to help. Ms. Bierce said she would be happy

  to sit with Ms. Matherson. Plaintiff started asking Ms. Giles

  to arrange this in February 2019 and continued to ask through

  the day she was terminated. Ms. Giles noted the request on

  several coaching sheets.




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                Ms. Matherson’s Continued Accommodation Requests

                                             100.

          Ms.   Matherson      had     a     meeting       with    Plaintiff’s      direct

  supervisor      Ms.    Giles    on       March    1,     2019,   which    was    not    to

  discuss Ms. Matherson’s attendance/adherence, but instead to

  discuss       that     the    WFM        team     had     incorrectly       coded      her

  occurrences in January and February 2019.

                                             101.

          The 5-minute meeting was simply to advise that the WFM

  team had incorrectly coded a few of her episodes and since it

  was   the     company’s      error,       she    would    not    have    any    negative

  repercussions. In fact, she was told by a member of the WFM

  team that the problem was a direct result of Ms. Giles having

  never instructed them to code anything over an hour as unpaid

  time.

                                             102.

          It is Ms. Matherson’s belief that Management, HR, and the

  Accommodations team had decided to delay their response to the

  second accommodation request long enough for her to accumulate

  enough occurrences to be terminated.

                                             103.

          Ms.   Cannon    advised       that       going    forward    they      would   be

  following the accommodation exactly as written, meaning that

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  they would be charging attendance points for any occurrence

  over an hour.

                                            104.

        Ms. Matherson never acknowledged or agreed to any harm to

  the operations at Thermo Fisher during that meeting because it

  was never discussed.

                                            105.

        Ms.    Matherson      reminded       Ms.    Cannon   that   she    had    been

  hesitant to sign the first accommodation because the way it

  was written didn’t meet her needs as a Type 1 Diabetic with

  complications.

                                            106.

        Ms.    Matherson      also    reminded      Ms.    Cannon   that    she    had

  advised     Ms.   Matherson    to     request      additional     accommodations

  when/if needed. Thermo Fisher was well aware that an updated

  accommodation request had been submitted.

                                             107.

        Plaintiff     never    received       any    communication    from    Thermo

  Fisher’s    Accommodations         team    or    local   Management/HR     despite

  multiple verbal and written requests for a status update.

                                            108.

        She was initially advised they had not received it.




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                                           109.

        When        Ms.   Matherson     provided     proof        from    her     doctor’s

  office that it was in fact received on February 24, 2019, Ms.

  Cannon “checked into it” and then admitted it was received and

  was in the hands of the Accommodations team.

                                           110.

        Throughout         the   months    of     March     and       April     2019,   Ms.

  Matherson made multiple verbal and written requests for an

  update on her new accommodations request. She contacted Thermo

  Fisher’s      local        Management      and     HR,         as      well     as    the

  Accommodations Team to no avail.

                                           111.

        As     of     Plaintiff’s      termination        date     she    still       hadn’t

  received an update despite Thermo Fisher having received the

  new accommodations request two (2) months prior.

                                           112.

        Each time that Ms. Matherson experienced an episode over

  an   hour,        Thermo   Fisher     immediately        advised       that     she    had

  incurred an attendance infraction.

                                           113.

        And     each      time   she    would     explain        that    she    had     been

  diagnosed with a new Diabetes related complication that is

  permanent and must be carefully managed.

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                                         114.

          Ms. Matherson also continued to advise that the hostile

  work environment caused by lack of support from Management and

  HR     was    causing   her   undue     stress,     which    was    having      dire

  consequences on her health.

                                         115.

          She incurred the 10th infraction on April 19, 2019. As

  soon as she returned to her desk from treating an extreme

  blood sugar episode, Ms. Giles stood up from her desk and

  walked to the middle of the call center floor and proceeded to

  yell     at    Ms.   Matherson       that   she     just    received      her    10th

  infraction.

                                         116.

          Ms. Matherson told Thermo Fisher that she knew that she

  could be an asset to the company if only they were willing to

  work with her.

                                         117.

          She   offered   to    come    in    early    or    stay    late   when    an

  incident occurred so any time missed could be made up.

                                         118.

          She also offered to be “on-call” and available to provide

  coverage if Thermo Fisher was short staffed.




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                                        119.

          Ms.   Matherson   offered      to     do     “anything    she   could,”

  including      working    weekends,      doing       administrative      tasks,

  providing clerical support, etc.

                                        120.

          On or around January 25, 2019, Ms. Matherson learned from

  a coworker on Thermo Fisher’s International Team that there

  was a position available on their Team.

                                        121.

          The   International   Team    handles      most    of   their   customer

  communication via email due to time differences.

                                        122.

          Ms. Matherson explained to Ms. Cannon and Ms. Giles that

  this type of position would be a good fit for her because she

  could    treat   and   recover   at   her     desk    without    affecting     the

  customer experience.

                                        123.

          Ms. Matherson was told that there was no open position

  posted, so there was no way to apply.

                                        124.

          Ms.   Matherson    inquired     about        the   position     on     the

  International      team   several     times    throughout       the   months   of




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  February, March, and April 2019. She was repeatedly told that

  there was no way to apply for a position that was not posted.

                                     125.

         The   position    was   posted    the   day   after   Plaintiff    was

  terminated.

                          Ms. Matherson’s Termination

                                     126.

         Ms. Matherson was terminated on April 22, 2019.

                                     127.

         The policy in place during Ms. Matherson’s employment was

  that   all   employees,     regardless    of   tenure,   were   allowed    10

  infractions and that a verbal, written, and final warning had

  to be given to said employee prior to termination.

                                     128.

         Thermo Fisher failed to follow its own policy, as Ms.

  Matherson received no written warning5 or final warning prior

  to her termination.


  5 Except for an inaccurate performance coaching form that
  stated if her metrics did not improve within a month, she
  would be placed on a performance improvement plan (but not
  terminated). See April 11, 2019 Performance Coaching form that
  Ms. Matherson refused to sign because (and management agreed)
  that the metrics stated on the form were actually not correct
  due to her allowed extra 5-minute breaks (from her first
  accommodation request) that were not being taken into
  consideration when the metrics were being tabulated, attached
  as Exhibit “8.”

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                                           129.

        It has become obvious to Ms. Matherson that this is a

  case where Defendant did not want to accommodate a new hire,

  even though it was required to do so under the ADA, as it

  clearly     feared     that   after       12     months    of     employment,       Ms.

  Matherson    would     also   be    eligible       to     take    FMLA     leave,   in

  addition     to      requesting         reasonable        accommodations,           and

  Defendant    did     not   wish    to    go     that    route.    Ms.    Matherson’s

  supervisor made this decision and HR supported the supervisor

  in that decision.

                                           130.

        It has become obvious to Ms. Matherson that she was being

  singled     out      and   discriminated          against        because     of     her

  disability.

                                           131.

        Thermo Fisher has discriminated against Ms. Matherson by

  refusing to engage in the interactive process and failing to

  grant her reasonable accommodation requests.




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                                        COUNT ONE
       AMERICANS   WITH   DISABILITIES ACT — FAILURE   TO   REASONABLY ACCOMMODATE

                                          132.

        Plaintiff hereby incorporates, adopts and realleges the

  foregoing paragraphs of this Complaint as if fully set forth

  herein.

                                          133.

        Ms. Matherson had had to receive treatment for her Type I

  Diabetes for nearly her entire life and continues to receive

  treatment even to date.

                                          134.

        Plaintiff’s         Type   I   Diabetes,       treatment,       and   related

  illnesses are a disability as defined by the ADA.

                                          135.

        Plaintiff was substantially limited in one or more major

  life activities, including digestive and bowel functions and

  the ability to think and concentrate.

                                          136.

        At all times relevant hereto, Plaintiff was qualified for

  her position as a CSR.




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                                         137.

        Plaintiff had the skill, experience, education and other

  job-related requirements for this position, for which she was

  hired in October 2018.

                                         138.

        Plaintiff could perform her essential job functions with

  or without reasonable accommodation.

                                         139.

        As   set   forth   above    in    the   Statement    of   Facts    above,

  Defendant knew that Plaintiff suffered from Type I Diabetes.

                                         140.

        As   set   forth   above    in    the   Statement    of   Facts    above,

  Defendant knew that Plaintiff had to receive treatment for her

  Type I Diabetes.

                                         141.

        Plaintiff provided Defendant with enough information for

  Defendant to understand that she had a long-term illness that

  qualified   under    the    ADA   as    a   disability    and   that    she   was

  requesting a reasonable accommodation.

                                         142.

        Defendant     could    have      granted   Plaintiff      a   reasonable

  accommodation that would have allowed her to be successful in

  her position as a CSR.

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                                              143.

          As   set     forth    in     the     statement        of    facts,       throughout

  October-      December       2018    and     on    February        24,   2019       Plaintiff

  provided      Defendant       with    additional         details         as    to    why    she

  needed to be able to take extra time to test, treat, and

  recover from high and low blood sugar episodes while at work.

                                              144.

          On    March     1,    2019,        Defendant     set       up     a     meeting     to

  essentially give Plaintiff a performance review.

                                              145.

          During that meeting, Defendant criticized Plaintiff for

  her absence from work for medical treatment and recovery, but

  never        discussed       her      recent        (i.e.      second)           reasonable

  accommodation request.

                                              146.

          Plaintiff’s requests to be able to step away from a task

  to attend to a high or low blood sugar episode and make up the

  time    thereafter        that     same     day    (or   on    a    different         day    if

  Defendant       so      chose)      for     treatment       and     recovery         from     a

  disability         or    record       of     disability        were           requests      for

  reasonable accommodation as defined by the ADA.




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                                         147.

        The accommodation of being allowed to step away from a

  task to attend to a high or low blood sugar episode and make

  up the time thereafter that same day (or on a different day if

  Defendant so chose), to transfer to another department, or a

  telework agreement would have enabled Plaintiff to effectively

  perform the essential functions of her job.

                                         148.

        Alternatively, had Defendant interacted with Plaintiff in

  a   good   faith    effort    to   accommodate     Plaintiff’s         disability,

  another reasonable accommodation could have been identified.

                                         149.

        Rather       than   provide      Plaintiff       with     the     reasonable

  accommodation       she   requested    or     engage   in     good    faith   in    an

  interactive     process       to   identify      how    to     accommodate         her

  disability, Defendant terminated Plaintiff’s employment.

                                         150.

        Defendant      failed   to    make    reasonable      accommodations         for

  Plaintiff’s known disability-related limitations in violation

  of Defendant’s obligations section 42 U.S.C. §12112(b)(5)(A)

  of the ADA.




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                                                151.

         Defendant terminated Plaintiff’s employment based on the

  need     to       make    reasonable          accommodations       for    Plaintiff’s

  disability in violation of the section 42 U.S.C. §12112(b)

  (5)(B) of the ADA.

                                                152.

         In     addition          to     failing       to   comply   with    the    ADA’s

  requirement of reasonable accommodation, itself sufficient to

  violate that statute, Defendant intentionally, with malice and

  reckless indifference to Plaintiff’s rights, violated the ADA

  by terminating her employment because of her disability and/or

  her need for reasonable accommodation.

                                                153.

         As     a     direct       and      proximate       result    of    Defendant’s

  intentional         discrimination,           Plaintiff      has   suffered      out   of

  pocket losses and has been deprived of job-related economic

  benefits, including income in the form of wages and other job-

  related benefits, including health insurance benefits.

                                                154.

         In addition, Defendant’s actions have caused, continue to

  cause,      and    will    cause       the   Plaintiff      to   suffer   damages      for

  physical      pain        and        suffering,      emotional     distress,     mental




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  anguish, loss of enjoyment of life, and other non-pecuniary

  losses all in an amount to be established at trial.

                                          155.

        Moreover, Plaintiff is entitled to an award of damages

  for future lost wages and benefits of employment.

                                          156.

        Defendant’s        discriminatory          conduct    has    caused    and

  continues to cause Plaintiff to suffer substantial physical

  and mental/emotional distress, fatigue, and inconvenience.

                                         COUNT TWO
            AMERICANS   WITH   DISABILITIES ACT — DISCRIMINATORY DISCHARGE

                                          157.

        Plaintiff hereby incorporates, adopts and realleges the

  foregoing paragraphs of this Complaint as if fully set forth

  herein.

                                          158.

        Since February 2019, Ms. Matherson has been subjected to

  different terms and conditions of employment comparatively to

  her co-workers.

                                          159.

        Upon   information         and   belief,    Defendant   would    not   have

  discharged Plaintiff had she not been disabled.




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                                    160.

        Defendants’ actions amount to a violation of the ADA, 42

  U.S.C. § 12112, which prohibits discrimination on the basis of

  disability.

                                    161.

        In   discharging   Plaintiff   on   account   of   her   disability,

  Defendant acted with malice or with reckless indifference to the

  federally protected rights of Plaintiff.

                                    162.

        As    a   direct   and    proximate    result      of    Defendant’s

  discrimination on the basis of Plaintiff’s disability, Plaintiff

  has suffered lost wages and benefits, as well as emotional

  distress.

                                    163.

        Defendant’s discriminatory conduct towards Plaintiff has

  caused, continues to cause, and will cause Plaintiff to suffer

  substantial damages for pecuniary losses, mental anguish, loss

  of enjoyment of life, and other non-pecuniary losses.




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                                         COUNT THREE
                    AMERICANS   WITH   DISABILITIES ACT — RETALIATION

                                               164.

         Plaintiff hereby incorporates, adopts and realleges the

  foregoing paragraphs of this Complaint as if fully set forth

  herein.

                                               165.

         Defendant’s      refusal        to     consider     a     transfer      and     the

  alleged verbal counseling of Plaintiff in March and April 2019

  were   in   whole      or     in     part    in     retaliation       for   Plaintiff’s

  opposition        to   Defendant’s             failure     to     accommodate          her

  disability, in violation of 42 U.S.C. § 12203(a).

                                               166.

         Thermo     Fisher    discriminated            against    Ms.    Matherson     when

  Ms. Cannon, Ms. Giles, and Ms. Seles continuously drug their

  feet   on   the    interactive         process       (after     Ms.    Matherson     made

  multiple    reasonable         accommodation          requests    and       followed    up

  multiple times) and ultimately when Thermo Fisher terminated

  her employment.

                                               167.

         Thermo Fisher also retaliated against Ms. Matherson for

  requesting said reasonable accommodations when Ms. Cannon and

  Ms. Giles refused to allow her to apply for a transfer to the



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  international         team      and       continuously        noted       her     “point

  accumulation”       for        attendance     infractions        related         to     her

  disability,     when      HR    supported     Ms.    Cannon    and    Ms.       Giles    in

  their retaliatory actions, and ultimately when Thermo Fisher

  terminated her employment. As detailed above, these actions

  were done in an effort to intimidate Plaintiff from exercising

  her    right       to     oppose          Defendant’s       unlawful        employment

  discrimination        practices       and    thus    also    constituted         illegal

  retaliation in violation of 42 U.S.C. § 12203 (b) of the ADA.

                                             168.

         Defendant’s multiple false allegations against Plaintiff

  have   been    made     in     an   effort    to    intimidate       Plaintiff         from

  exercising her right to oppose Defendant’s unlawful employment

  discrimination        practices       and    thus    also    constituted         illegal

  retaliation in violation of 42 U.S.C. § 12203 (b) of the ADA.

                                             169.

         Defendant        intentionally,            with   malice       and       reckless

  indifference       to    Plaintiff’s         rights,     violated         the    ADA     by

  retaliating        against          her     for     requesting        a     reasonable

  accommodation, although they knew or should have known that

  the ADA prevents employers from retaliating against employees

  covered by the ADA.




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                                               170.

          As     a     direct     and     proximate        result        of    Defendant’s

  intentional          discrimination         and      retaliation,        Plaintiff     has

  suffered out of pocket losses and has been deprived of job-

  related economic benefits, including income in the form of

  wages        and     other     job-related          benefits,      including       health

  insurance          benefits,    all    in    an   amount    to    be     established    at

  trial.

                                               171.

          In addition, Defendant’s actions have caused, continue to

  cause,       and    will     cause    the   Plaintiff      to    suffer      damages   for

  emotional          distress,    mental       anguish    and      other      non-pecuniary

  losses, as well as damages to her personal and professional

  reputation.

                                               172.

          Moreover, Plaintiff is entitled to an award of damages

  for future lost wages and benefits of employment.

                                          COUNT FOUR
                                        ATTORNEY’S FEES

                                               173.

          Plaintiff hereby incorporates, adopts and realleges the

  foregoing paragraphs of this Complaint as if fully set forth

  herein.



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                                         174.

         Defendant has acted in bad faith and has been stubbornly

  litigious, causing Plaintiff unnecessary trouble and expense.

  Consequently, Plaintiff is entitled to recover attorney’s fees

  pursuant to O.C.G.A. § 13-6-11.

                                         175.

         Plaintiff is also entitled to recover her reasonable her

  and    expenses,    including      attorneys’        fees,   as   part    of    their

  recovery from Defendant for Defendant’s violations of federal

  law.

         TRIAL BY JURY DEMANDED ON ALL COUNTS.

           WHEREFORE, Plaintiff prays that this Court:

           a. Issue        a    declaration     that     Defendant        engaged     in

              unlawful employment practices in violation of, and

              violated Plaintiff’ rights under the ADA;

           b. Award    Plaintiff       all    of   her     back     pay     and     lost

              benefits which Plaintiff has suffered as a result of

              Defendant’s violations;

           c. Award    Plaintiff      compensatory        damages    in    an     amount

              commensurate with the pecuniary losses imposed upon

              her     by       Defendant’s    unlawful,        discriminatory       and

              retaliatory acts, including but not limited to her

              lost wages and employment benefits;

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           d. Award Plaintiff compensatory damages sustained as a

              result of Defendant’s unlawful, discriminatory and

              retaliatory    acts,    including     but   not    limited        to

              damages for future pecuniary losses, emotional pain

              and suffering, inconvenience, mental anguish, loss

              of enjoyment of life, and other non-pecuniary losses

              sustained by Plaintiff as a result of Defendant’s

              violations of the ADA;

           e. Grant   a   permanent   injunction     enjoining       Defendant,

              its     officers,      agents,      successors,        employees,

              attorneys, and those acting in concert with them,

              from engaging in any employment practice or policy

              which discriminates against the Plaintiff and other

              qualified employees on the basis of disability in

              violation of the ADA;

           f. Grant   a   permanent   injunction     enjoining       Defendant,

              its     officers,      agents,      successors,        employees,

              attorneys, and those acting in concert with them,

              from    retaliating       against     Plaintiff        or      other

              qualified     employees     for     engaging      in        activity

              protected under the ADA;

           g. Grant Plaintiff an award of damages for future lost

              wages and benefits of employment;

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           h. Grant   Plaintiff        an    award    of    her    medical      expenses

              which she has incurred as a direct result of the

              injuries       inflicted       upon     her    by     the   conduct        of

              Defendant, in an amount to be proven at trial;

           i. Grant      Plaintiff          liquidated        damages        for        the

              Defendant’s       willful,         intentional,        malicious          and

              recklessly       indifferent          violation       of    Plaintiff’s

              rights under the ADA;

           j. An award of punitive damages to punish Defendant’s

              willful    and    intentional          violations      of   the     ADA    as

              provided by 42 U.S.C. § 12117(a);

           k. Grant     Plaintiff      special       damages       for    all    out-of-

              pocket costs and expenses that she would not have

              incurred but for the Defendant’s unlawful conduct,

              including costs incurred in bringing this action and

              her reasonable attorneys’ fees;

           l. Issue      an     Order         requiring           reinstatement          of

              Plaintiff’s      rights       to   health      insurance      and    other

              benefits under Defendant’s benefit plans;

           m. Issue     an     Order        granting        Plaintiff      costs        and

              attorney’s fees per O.C.G.A. §13-6-11, as well as

              reasonable expert witness fees together with any and




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              all     other   costs   associated    with    this    action   as

              provided by the ADA;

           n. Award Plaintiff pre- and post-judgment interest at

              the maximum rates allowable by law;

           o. Grant Plaintiff a trial by jury of all issues so

              triable; and,

           p. Grant    such   additional   relief   as     this    Court   deems

              necessary, appropriate, just and proper.

        This 22nd day of April, 2021.

                                       HORNSBY LAW GROUP


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